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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 M.F., as Parent and Natural Guardian of K.C.,
 a minor, and M.F., Individually,
                                                                        20 Civ. 1109 (PAE)
                                        Plaintiff,
                        -v-                                                   ORDER

 NEW YORK CITY DEPARTMENT OF EDUCATION,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       Plaintiff filed the complaint in this action on February 7, 2020. Dkt. 1. Plaintiff failed to

serve the Summons and Complaint within the 90-day period required by Rule 4(m) of the

Federal Rules of Civil Procedure. On October 2, 2020, the Court issued an order to show cause

why the plaintiff failed to timely serve the Summons and Complaint. Dkt. 2. On October 16, the

plaintiff responded to the order stating that there was good cause as to why plaintiff failed to

timely serve the Summons and Complaint, specifically due to COVID-19 related issues. Dkt 4.

       Finding good cause shown, plaintiff’s time to serve defendant New York City

Department of Education is hereby extended to October 23, 2020.

       SO ORDERED.

                                                           PaJA.�
                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: October 19, 2020
       New York, New York
